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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                   Plaintiffs,                Civil Action No. 3:22-cv-00211-SDD-SDJ

             v.                               Chief Judge Shelly D. Dick

KYLE ARDOIN, in his official capacity as      Magistrate Judge Scott D. Johnson
Secretary of State for Louisiana,

                   Defendant.

EDWARD GALMON, SR., et al.,

                   Plaintiffs,                Consolidated with
                                              Civil Action No. 3:22-cv-00214-SDD-SDJ
             v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                   Defendant.

          DEFENDANT STATE OF LOUISIANA’S REPLY IN SUPPORT OF
         ITS MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT
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                                        INTRODUCTION

       This case is plainly moot—indeed doubly so. First, enactment of S.B. 8 supersedes H.B. 1,

which renders moot the complaint filed in this court challenging the superseded Old Law under

binding Fifth Circuit precedent. Second, it is moot because there is no longer any meaningful relief

that this Court can award to Plaintiffs: their suit sought a second majority-minority district, which

they have received. In essence, Plaintiffs refuse to take “yes” for an answer. Although their public

statements have boldly claimed total victory, their court filings now insist that there is more relief

this Court can offer. The relief that Plaintiffs now purportedly seek is a declaration that H.B. 1,

which is no longer on the books, violated the VRA—presumably so that such a declaration can

serve as an advisory opinion for any remedial proceedings in Callais. But federal courts “are not

in the business of pronouncing that past actions which have no demonstrable continuing effect

were right or wrong.” Spencer v. Kemna, 523 U.S. 1, 18 (1998).

       Plaintiffs similarly claim that the now-ineffective H.B. 1 has some ethereal continuing effect.

But that contention is readily refuted by Plaintiffs’ refusal to amend their Complaint in light of

S.B. 8’s enactment. If Plaintiffs thought cognizable injury from H.B. 1 remained following S.B. 8,

they could have amended—and needed to amend—their Complaint to challenge any residual

harms from H.B. 1 that putatively remain. They tellingly refused to do so, thereby implicitly

conceding that no alleged harms from H.B. 1 even conceivably remain that might be justiciable.

Those implicit concessions alone require dismissal here.

                                           ARGUMENT

I.     THE ENACTMENT OF S.B. 8 MOOTED THIS CASE.

       A.      The Enactment of a Superseding Law Moots a Challenge to the Superseded
               Law.

       The Fifth Circuit has long made clear that “statutory changes that discontinue a challenged



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practice are usually enough to render a case moot, even if the legislature possesses the power to

reenact the statute after the lawsuit is dismissed.” Fantasy Ranch Inc. v. City of Arlington, Tex.,

459 F.3d 546, 564 (5th Cir. 2006) (emphasis added) (quotation marks and citation omitted). But

neither set of Plaintiffs (1) cites Fantasy Ranch at any point or (2) meaningfully grapples with the

default rule that it establishes. Nor is Fantasy Ranch an outlier: where “a statute or regulation is

amended … mootness is the default.” Freedom from Religion Found., Inc. v. Abbott, 58 F.4th 824,

832 (5th Cir. 2023) (emphasis added) (collecting five cases to that effect).

       Plaintiffs largely attempt to escape this default rule by (1) repeatedly accusing the State of

not intervening to defend the new law in Callais; (2) relying on the State’s theoretical power to

reenact H.B. 1; and (3) citing Perez v. Perry, 26 F. Supp. 3d 612 (W.D. Tex. 2014). As the State

advised the Court, the State has already moved to intervene in Callais and will defend S.B. 8.

Fantasy Ranch makes clear that the mere power to reenact does not suffice. 459 F.3d at 564

(holding that mere “possess[ion] the power to reenact the statute” does not defeat mootness). And

Perez is readily distinguishable.

       In Perez, the new “2013 plans [we]re heavily derived from the [previously challenged]

2011 plans . . . and Plaintiffs contend[ed] that many of the alleged violations of the VRA and the

Constitution in the 2011 plans persist[ed] in the 2013 plans.” Perez, 26 F. Supp. 3d at 618. In stark

contrast, this suit challenged H.B. 1 as violating VRA § 2 only because it lacked a second majority-

minority district. S.B. 8 utterly eradicates that alleged defect—as Plaintiffs’ happy declarations of

victory make plain. See ECF No 352-1 at 1– 2. Thus, unlike Perez, the challenged conduct here is

neither “repeated in exactly the same manner,” nor—by extension—shows actual recurrence

sufficient to defeat the presumption of good faith. Perez, 26 F. Supp. 3d 618.

       In further contrast, the Perez plaintiffs sought and obtained “leave to amend” their




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pleadings to assert that their alleged injuries from the original enacted maps persisted in the new

maps—thereby preserving the court’s ability to grant relief. Id. at 615–16. But both sets of

Plaintiffs here expressly rejected this Court’s invitation to amend their complaints. Finally, Perez

is also distinguishable because in that case “the possibility of § 3(c) relief also precluded Plaintiffs’

[prior] claims from being moot.” Id. at 619. But no such relief was sought (or is available) here.

        Thus, the default rule applies here: S.B. 8’s repeal of H.B. 1 moots challenges to H.B. 1. 1

        B.       The Voluntary Cessation Exception Does Not Apply Here.

        Plaintiffs’ attempt to rely on the voluntary cessation exception to mootness is equally

unavailing. The State is entitled to a presumption of good faith with respect to the voluntary

cessation exception. See Yarls v. Bunton, 905 F.3d 905, 910–11 (5th Cir. 2018). And on the topic

of redistricting generally, “the good faith of the state legislature must be presumed.” Abbott v.

Perez, 138 S. Ct. 2305, 2234 (2018) (citation omitted). Galmon Plaintiffs never even acknowledge

that presumption—let alone attempt to rebut it. See ECF No. 358 at 9–10. That omission renders

their arguments not only meritless but ultimately unserious.

        Robinson Plaintiffs at least acknowledge (at 11) the presumption of good faith. But their

reliance on the Fenves factors to overcome the presumption fails. That argument is heavily

premised on Robinson Plaintiffs’ contention that: (at 3) “the State of Louisiana . . . ha[s] [not]

sought intervention in Callais to defend SB 8” and that (at 10–11) the “Attorney General . . . ha[s]

[not] taken any steps to defend SB 8” in Callais. Those contentions were fully refuted by the

Attorney General moving to intervene in the Callais action, making clear her intent to defend S.B.

8. See Callais, 3:24-cv-00122 (W.D. La. Feb. 20, 2024), ECF No. 53. Indeed, had Plaintiffs simply

communicated with counsel for the Attorney General, the State could have quickly dispelled


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 It is notable that S.B. 8 contains no “snap back” provision. As a result, even if S.B. 8 were struck down, H.B. 1
would not, and could not, automatically take its place.


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Plaintiffs’ conspiratorial aspersions as to the State’s intention to defend S.B. 8. 2

         Similarly, Plaintiffs’ contention (at 12) that “Defendants continued to defend the

lawfulness of HB 1” is equally baseless. Following enactment of S.B. 8, the State has not filed any

brief defending the lawfulness of H.B. 1.

         Plaintiffs’ responses also flout controlling Fifth Circuit precedent. As that court made clear,

the “enactment of [the superseding law] by the state legislature and governor, combined with the

presumption of good faith that we afford government actors, overcomes concerns of voluntary

cessation.” Amawi v. Paxton, 956 F.3d 816, 821 (5th Cir. 2020). Indeed, the presumption of good

faith was not defeated in Amawi even though there were “stray incidents” of continuing to apply

the superseded law after it had been repealed. See id. at 822 (holding that “two stray incidents fail

to suggest to us that Texas would revert to applying [the superseded law]’s requirements … if this

suit were dismissed”). In obvious contrast here, there are no “stray incidents” of applying H.B. 1.

         More generally, “the government’s ability to reimplement the statute or regulation at issue

is insufficient to prove the voluntary-cessation exception,” Freedom From Religion, 58 F.4th

at 833. But that—combined with Plaintiffs’ insinuations premised on the State’s putative refusal

to intervene in Callais (which were quickly refuted)—is all that Plaintiffs offer against the

presumption of good faith. And Freedom from Religion and Fantasy Ranch make plain that is not

enough to avoid dismissal on mootness grounds.

II.      THIS CASE IS INDEPENDENTLY MOOT BECAUSE THIS COURT CAN NO LONGER AWARD
         ANY EFFECTUAL RELIEF.

         Even aside from the fact that H.B. 1 no longer exists because S.B. 8 superseded and

replaced it, this case is moot because this Court can no longer grant “any effectual relief” as to


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  The State’s motion to intervene was in the works before Plaintiffs’ unfounded insinuations. Indeed, the State’s first-
to-file opposition expressly stated that “[t]he Attorney General intends to intervene in Callais as the State to defend
S.B. 8 against the constitutional challenges.” Doc. 355 at 13 n.4.


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H.B. 1. Motient Corp. v. Dondero, 529 F.3d 532, 537 (5th Cir. 2008). Plaintiffs appear to argue

that effective relief is still available in the form of “injunctive and declaratory relief from H.B. 1”

ECF No. 358 at 1; accord ECF No. 357 at 14 (arguing that “declaratory and injunctive relief [could

be] issued by this [C]ourt”). Not so.

       As an initial matter, Plaintiffs’ contention that they still could obtain injunctive relief as to

H.B. 1 is preposterous. Injunctions may only issue if Plaintiffs can prove that they are “likely to

suffer irreparable harm in the absence of [injunctive] relief.” Winter v. NRDC, Inc., 555 U.S. 7, 20,

129 S. Ct. 365, 374 (2008); accord Amoco Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 546 n.12

(1987). The prospect that Plaintiffs are outright likely to suffer future irreparable harm from a law

no longer in force is both conceptually flawed and devoid of any proof.

       Plaintiffs’ reliance on declaratory relief fares no better. As noted above, federal courts “are

not in the business of pronouncing that past actions which have no demonstrable continuing effect

were right or wrong.” Spencer, 523 U.S. at 18. Here the alleged wrong was the absence of two

majority-minority districts. S.B. 8 eliminated that alleged deficiency, and there is “no

demonstrable continuing effect” from H.B. 1 as a result. Id.

       This Court thus lacks jurisdiction to opine—by declaratory judgment or otherwise—

whether H.B. 1 was “right or wrong.” Id. Nor can seeking declaratory relief avoid mootness

occasioned by statutory repeal. See, e.g., Log Cabin Republicans v. United States, 658 F.3d 1162,

1167 (9th Cir. 2011) (“When a statutory repeal or amendment extinguishes a controversy, the case

is moot. There is no exception for declaratory relief.”).

                                          CONCLUSION

       For the foregoing reasons and those explained in the State’s motion to dismiss, this case is

moot and must be dismissed.

Dated: February 23, 2024                              Respectfully Submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on this 23rd day of February 2024, the foregoing has been filed with

the Clerk via the CM/ECF system that has sent a Notice of Electronic filing to all counsel of record.

                                       /s/ Morgan Brungard
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